Case 1-24-40294-nni Doc 2-4 Filed Qo/O//24 Entered Vs/O/i24 2140709

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:
New York International Bagel & Coffee Inc.

Debtor(s).

Case No. 1-24-40294 _

Chapter 7

x

AFFIRMATION PURSUANT TO E.D.N.Y. LBR 1009-1(a)

Herbert Noel Steinberg, Esq. _, undersigned attorney for the debtor herein, affirms as follows:

1. Debtor filed a petition under chapter _7 of the Bankruptcy Code on January 23, 2024 .

2. Filed herewith are amendments to Schedule E/F (Part 2, page 1), Statement of Financial Affairs (Part 3, page 2),
and Official Form 206Sum previously filed herein.

3. Annexed hereto is a listing setting forth the specific additions to the affected list(s), schedule(s) or statement(s).
The nature of the change (addition) is indicated for each creditor or item listed.

4. An amended mailing matrix is annexed hereto, reflecting only changes adding or deleting as have been referred
to above.

Dated: May 7 2024

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